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                                                     August 5, 2024
VIA ECF AND ELECTRONIC MAIL

The Honorable Vernon S. Broderick
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re: United States v. Carlos Orense Azocar, 21 Cr. 379 (VSB)

Dear Judge Broderick:

       I was appointed as CJA counsel for Carlos Orense Azocar on July 15, 2024. Previously,
Mr. Orense Azocar, while represented by different counsel, was convicted of narcotics importation
conspiracy, possession of machine guns and conspiracy to possess machine guns on December 12,
2023. (Dkt. 60.) On January 16, 2024, prior counsel filed a motion for a new trial pursuant to Rule
33, to which the government responded on March 7, 2024. (Dkt. 89 and 92.) Subsequently, on
June 20, 2024, Mr. Orense Azocar submitted an ex parte post-trial motion introducing three
additional grounds for a new trial under Rule 33.

        Following my appointment, the Court ordered me to advise whether the June 20, 2024
correspondence should be filed on the docket and whether I would adopt or supplement Mr. Orense
Azocar’s motion for a new trial. (Minute Entry, July 15, 2024.) Initially, I believe that filing the
June 20, 2024 letter on the docket is appropriate since post-trial motions are typically filed with
the Court and are generally accessible unless there is a compelling reason to seal them. United
States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995). Sealing is justified only when “specific, on
the record findings are made demonstrating that closure is essential to preserve higher values and
is narrowly tailored to serve that interest.” In re New York Times Co., 828 F.2d 110, 117 (2d Cir.
1987) (internal quotation marks and citations omitted).

         Regarding the pending motions for a new trial, I intend to adopt the motion filed by prior
counsel on January 16, 2024, and respectfully request a ruling on this motion. Concerning the pro
se motion filed by Mr. Orense Azocar on June 20, 2024, I request permission to supplement the
filing, specifically focusing on the second and third arguments presented. Mr. Orense Azocar will
not pursue the first argument but only intends to enhance the second and third points.

       In terms of the timeline for submitting the supplemental argument, I respectfully request
an extension until November 15, 2024, with consent from both Mr. Orense Azocar and the
government. This additional time is necessary to conduct a comprehensive review of the 1,521-
page transcript, voluminous 3500 materials and discovery, as well as to prepare the relevant
supplemental memorandum of law. Furthermore, I have two upcoming trials: a civil trial in the
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Northern District of New York beginning August 12 in Zeltman v. Infinigy Solutions, 20 Cv. 571
(MAD), and a multi-week, multi-defendant criminal trial in the Eastern District of New York
beginning September 23, 2024 in United States v. Jarrett Bruce, 23 Cr. 292 (RPK). Additionally,
my observance of multiple Jewish holidays in October will further constrain my availability.

         Based on the foregoing, I respectfully request that the Court file Mr. Orense Azocar’s June
20, 2024 correspondence on the docket and permit me to supplement arguments II and III from
the letter on or before November 15, 2024. Thank you for your time and consideration. I am
available to discuss any further details or address any concerns the Court may have regarding this
matter.

                                                     Respectfully submitted,


                                                     Eylan Schulman

cc: AUSA’s Kaylan Lasky & Kevin Sullivan
